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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                   NO. 4:13CR00068-03-JLH

KENNETH EUGENE BROWN, SR.                                                         DEFENDANT

                                               ORDER

       Pending is defendant’s Motion for Two Point Reduction based on Sentencing Guideline

Amendment 782.

       Amendment 782 retroactively reduces most drug quantity base offense levels by two.

However, only those defendants serving a sentence determined or affected by a range calculated

using the drug quantity table, U.S.S.G. § 2D1.1, are potentially eligible for a reduction. Since

defendant’s base offense level was determined by his career offender status under § 4B1.1, not the

drug quantity table, he is not eligible for a reduction.1

       Accordingly, defendant’s Motion for Two Point Reduction is DENIED. Document #358.

       IT IS SO ORDERED this 4th day of December, 2014.




                                                       UNITED STATES DISTRICT JUDGE




       1
         Defendant had a base offense level of 34 with a -3 for acceptance; a criminal history
category of VI; and a guideline range of 188-235 months. He was sentenced to 120 months in
prison.
